Case: 5:03-cv-00494-KSF-JBT Doc #: 365 Filed: 01/12/07 Page: 1 of 48 - Page ID#:
                                    13058


                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF KENTUCKY
                                     LEXINGTON DIVISION

REPUBLIC SERVICES, INC.,

                PLAINTIFF

v.                                                       CIVIL ACTION NO. 03-494 KSF
LIBERTY MUTUAL INSURANCE                                     ELECTRONICALLY FILED
COMPANY, LIBERTY INSURANCE
ACQUISITION CORPORATION f/k/a
LIBERTY MUTUAL FIRE INSURANCE
COMPANY, LIBERTY INSURANCE
CORPORATION, LM INSURANCE
CORPORATION, THE FIRST LIBERTY
INSURANCE CORPORATION and
HELMSMAN MANAGEMENT SERVICES,
INC.,
          DEFENDANTS.

     DEFENDANT’S RESPONSE TO REPUBLIC SERVICES, INC.’S MOTION FOR
                     PARTIAL SUMMARY JUDGMENT

                                       *    *   *    *   *

I.      INTRODUCTION

        This case is about whether Defendants, Liberty Mutual Insurance Company, et al. (the

“Liberty Companies”) mishandled Republic Services, Inc.’s (“Republic”) workers’

compensation claims. Relying on the mistaken assumption that the Liberty Companies bear the

burden of proof in this case, Republic asks this Court to hold that (i) the Liberty Companies have

not met their alleged burden of proof “to disprove that the joint and several conduct in handling

Republic’s claims caused material and substantial damage to Republic”; and that (ii) the Liberty

Companies “materially breached their agreement with, and express and implied duties to,

Republic.” Republic then asks this Court to award it “actual damages.”

        Rather than setting forth a statement of undisputed facts as Republic’s own burden of



CM61:36901:243711:2:LEXINGTON
Case: 5:03-cv-00494-KSF-JBT Doc #: 365 Filed: 01/12/07 Page: 2 of 48 - Page ID#:
                                    13059


proof on summary judgment would require it to do, Republic launches an attack on the Liberty

Companies, accusing them of being “disingenuous,” of “mislead[ing] this Court,” and of

“coaching” witnesses to give less than truthful testimony. Republic’s attacks only serve to

highlight the lack of factual and legal support for their arguments. Republic has not established,

as matter of law, that the Liberty Companies mishandled Republic’s claims and therefore, this

Court cannot award damages to Republic on summary judgment.

II.       COUNTERSTATEMENT OF FACTS

          Republic and the Liberty Companies entered into a contractual relationship beginning on

June 30, 1998.1 The Liberty Companies had been providing workers’ compensation claims

management services to Republic Industries, Inc. When Republic “spun-off” from Republic

Industries, Inc., and formed a completely separate entity, the parties agreed that the Liberty

Companies would provide workers’ compensation claims management services to Republic.2

The parties’ agreement for the 1998-1999 policy year was memorialized in a series of documents

which are more particularly described in Section V(A)(1) of this Response.

          After the first year policies were in place, in September of 1998, representatives from the

Liberty Companies and representatives from Republic Industries, Inc. met to discuss, among

other things, Republic Services’ workers’ compensation program. Dan Dunne and others

compiled materials containing details about Republic Industries’ workers’ compensation

program to use as discussion points in their meeting about what services would be provided to

Republic.3 “The only items that were really of any concern to [the Republic Industries, Inc.


1
 Transcript of the deposition testimony of Dan Dunne (“Dunne Depo”), attached in relevant portions as Exhibit 1, at
27:12-28:25.
2
    Id.
3
  Republic refers to this compilation of materials, in their Memorandum, as the “Stewardship Document” and claims
that “Dunne testified that he drafted the Stewardship Document in preparation for a ‘meet and greet’ with
representatives of Republic Industries (on behalf of Republic) and Willis to discuss the workers’ compensation
policies for Republic.” Republic’s Motion at 9. Republic’s characterization of Dunne’s testimony is misleading, at

                                                       -2-
CM61:36901:243711:2:LEXINGTON
Case: 5:03-cv-00494-KSF-JBT Doc #: 365 Filed: 01/12/07 Page: 3 of 48 - Page ID#:
                                    13060


representatives] were the insurance program itself, [and] the parameters of the financial part of

the program.”4

            The parties renewed their relationship in May of 1999 and again in June of 2000. In both

of those years, the parties entered into policy contracts similar to those in year 1. The only

significant changes in the parties’ relationship over the years was the termination of an

agreement for the provisions of claims services by Helmsman Management Services, Inc. that

was in place for the first year of the contract,5 and the addition of a Partnership Agreement

providing an incentive for both parties to engage in a mutual effort to reduce RSI’s workers

compensation claims costs.6

            Each year of the parties’ relationship, Liberty Mutual Insurance Group made the same

commitments in the core policies:

                      · To “promptly pay when due the benefits required of [Republic] under workers

                           compensation law.”7

                      · To “defend at [Liberty’s ] expense any claim, proceeding or suit against

                           [Republic] for benefits payable by this insurance” (reserving the right to

                           investigate and settle these claims, proceedings or suits).8

                      · To pay other costs delineated in the policy as part of any claim, proceeding or



best. Dunne never uses the word “Stewardship Document” and he never testified that he “drafted” the materials that
were used at the “meet and greet”. As described above, he testified that he prepared the document with input from
others, (Dunne Dep at 54:9-15), and that the “document” was really a compilation of materials relating to Republic
Industries. He also testified that their meeting concerned a number of items, not just Republic’s workers’
compensation program. Dunne Depo at 80:7-19.
4
    Dunne Depo. at 80:25-81:6.
5
    See Section V(A)(2) of this Response.
6
    See Section V(A)(3) of this Response.
7
 See, e.g., PART ONE – WORKERS COMPENSATION INSURANCE, B of Exhibit 3 to Defendants’ Motion for
Partial Summary Judgment on Counts One and Two of Their Counterclaim [DKT # 261].
8
    See, e.g., Id. at C.


                                                          -3-
CM61:36901:243711:2:LEXINGTON
Case: 5:03-cv-00494-KSF-JBT Doc #: 365 Filed: 01/12/07 Page: 4 of 48 - Page ID#:
                                    13061


                           suit that they defended.9

Each policy contains a clear and unambiguous integration clause prohibiting amendment of the

policies without an endorsement signed by the Liberty Companies.10 No evidence exists that the

contractual agreement between the parties was ever modified pursuant to the integration clauses

contained in the policies to impose any further duties regarding claims handling upon the Liberty

Companies.

III.        REPUBLIC HAS NOT MET THE STANDARD FOR SUMMARY JUDGMENT

            Republic, in its own motion, states that “[u]nder FED. R. CIV. P. 56(c), summary

judgment is proper if the pleadings, depositions, written discovery and affidavits (if any)

demonstrate there is no genuine issue of material fact requiring a trial.”11 “All facts, and any

inferences therefore, must be viewed in the light most favorable to the non-moving party [in this

case, the Liberty Companies].”12 Nonetheless, Republic asks this Court to grant summary

judgment based on clearly disputed facts and expects the Court to view such facts in the light

most favorable to Republic.

            Republic’s entire motion is based on the premise that the burden in this case has shifted

from Republic to the Liberty Companies. While the Liberty Companies do not concede that this

is an accurate statement of the law, and indeed, argue in response to Republic’s other motion for

partial summary judgment pending before this Court that it is not an accurate statement, the fact

that Republic’s entire motion is based on the proposition, in and of itself precludes summary

judgment. The time has not come for the Liberty Companies to put on their case and meet their

burden of proof, if any. Republic asserts in its Motion that “the Liberty Companies have failed

9
    See, e.g., Id. at D.
10
     See citations to various policies contained in Section V(A) of this Response.
11
     Republic’s Memorandum at 16.
12
     Id. at 17 citing Matsushita Elec. Indus. Co., Ltd. v. Zenith Radio Corp., 475 U.S. 574, 587 (1986).


                                                           -4-
CM61:36901:243711:2:LEXINGTON
Case: 5:03-cv-00494-KSF-JBT Doc #: 365 Filed: 01/12/07 Page: 5 of 48 - Page ID#:
                                    13062


to meet their burden of proof to disprove that their claims handling caused Republic to sustain

substantial damages” and cite only to the testimony of the Liberty Companies’ experts as proof.

There are a number of witnesses identified in the Liberty Companies’ Rule 26 disclosures that

can and will be called to testify regarding the Liberty Companies’ handling of claims for

Republic. Republic does not establish in its motion that, as a matter of law, the Liberty

Companies cannot meet the purported burden of proof in this case through either their experts or

the numerous other witnesses they have identified. Instead, Republic asserts that the Liberty

Companies have failed to meet a burden of proof, when even if such burden was applicable, the

time to “meet” it has not come.

          Republic further asserts that “the Liberty Companies failed to abide by the claims

handling standards agreed to by Republic and the Liberty Companies, thereby breaching tort and

contract duties owed to Republic.”13 Again, Republic cannot establish this proposition as a

matter of law. All of Republic’s claims that the Liberty Companies “breached duties” to

Republic are based on the premise that the Special Service Instructions (“SSIs”), Minimum

Customer Requirements (“MCRs”) and Best Practices were part of the contract between the

parties. Whether these documents were part of the contract is a question of law. The Liberty

Companies have argued in their Motion for Partial Summary Judgment on Counts One and Two

of the Counterclaim that this Court should grant summary judgment holding that they are not

part of the contract between the parties. Similarly, the Liberty Companies ask this Court to deny

Republic’s motion that the documents are part of the contract.

          The Liberty Companies respectfully request that this Court enter an order denying

Republic’s motion for partial summary judgment.


13
     Republic’s Memorandum at 38.


                                                  -5-
CM61:36901:243711:2:LEXINGTON
Case: 5:03-cv-00494-KSF-JBT Doc #: 365 Filed: 01/12/07 Page: 6 of 48 - Page ID#:
                                    13063


IV.        RSI HAS NOT ESTABLISHED, AS A MATTER OF LAW, THAT THE LIBERTY
           COMPANIES CANNOT PROVE THAT THEY APPROPRIATELY HANDLED
           WORKERS COMPENSATION CLAIMS.

           Foremost, as a threshold matter, Republic cannot establish that the burden of proof has

shifted to the Liberty Companies. As fully explained by the Liberty Companies in their

Response to Plaintiff’s Motion For a Partial Summary Adjudication Concerning the Burden of

Proof, Plaintiff’s burden shifting argument is without basis in both law and fact. 14 As explained

in the Liberty Companies’ Response, Republic’s burden shifting motion is founded entirely upon

an erroneous statement of fact concerning the nature of the Liberty Companies’ retrospective

premium adjustments.15 Further, for a multiplicity of other reasons, the case law cited by

Republic in its burden shifting argument is inapplicable to the facts of this case.16 Accordingly,

for the reasons set forth in the Liberty Companies’ Response to that motion and consistent with

the well-established body of jurisprudence addressing this issue, the burden of proof is not

shifted from Plaintiff Republic.

           A.       If the Burden of Proof Shifts to the Liberty Companies, it Shifts Only with
                    Respect to Disputed Issues Contained in Disputed Claims Files.

           The Liberty Companies maintain that this Court should follow the virtually universal rule

that the plaintiff has the burden of proving liability and damages in all tort and contract actions.

Nonetheless, if this Court in inclined to adopt Republic’s request to shift the burden of proof to

the Liberty Companies, the burden should only shift with regard to the specific issues presented

within the 164 claims files criticized by Republic and its team of FRCP 26 experts. The burden

should not shift with regard to the Liberty Companies’ claims handling in the more than 7,000



14
     Liberty Companies’ Response Concerning Burden of Proof.
15
     Id. at Counterstatement of Facts and Argument I. A..
16
     Id. at Argument I. A.-D.


                                                            -6-
CM61:36901:243711:2:LEXINGTON
Case: 5:03-cv-00494-KSF-JBT Doc #: 365 Filed: 01/12/07 Page: 7 of 48 - Page ID#:
                                    13064


remaining claims handled for Republic. 17 Likewise, the burden should not shift with regard to

any issues not presented within the 164 claims files criticized by Republic and its team of FRCP

26 experts.

           By merely criticizing specific actions or inactions within 164 claims files and alleging

resulting damages, Republic cannot successfully shift the burden of proof to the Liberty

Companies to prove that its actions in all 7,740 files were reasonable and proper. Similarly, by

merely criticizing specific actions or inactions within 164 claims files and alleging resulting

damages, Republic cannot successfully shift the burden of proof to the Liberty Companies to

prove that all of its actions in 164 claims files handled over a period of several years was

reasonable and proper. Such would amount to forcing the Liberty Companies to prove a

multitude of negatives.

           Of the myriad of cases cited by Republic in support of its attempt to shift the burden of

proof to the Liberty Companies, few discuss the extent to which the burden is shifted. The court

in Transport Indemnity Company v. Dahlen Transport, Inc., 161 N.W.2d 546, 549 (Minn.

1968),18 as the court which apparently first dealt with this issue, provides some specifics

regarding how the burden-shift works, noting only that the insurer’s right to increased premiums

would be contingent upon proof of good faith and reasonableness. Dahlen did not delineate a

standard requiring the insurer to present evidence of good faith and reasonableness with respect

to every aspect of every claim handled by the insurer.

           On the other hand, Deerfield Plastics Co., Inc. v. The Hartford Insurance Co. 536 N.E.2d

322 (Mass. 1989) discussed the burden shift in relation to an insured that had already paid an

17
   On page 20 of its Memorandum, Republic suggests that the burden shifts to the Liberty Companies to disprove
that Republic sustained damages by reason of mishandling and mismanagement of the “Republic Workers
Compensation Program.” Republic defines this phrase in its Complaints as including approximately 7,740 claims
files.
18
     An index and copy of all non-Kentucky state cases cites in this Response are attached as Exhibit 2.


                                                           -7-
CM61:36901:243711:2:LEXINGTON
Case: 5:03-cv-00494-KSF-JBT Doc #: 365 Filed: 01/12/07 Page: 8 of 48 - Page ID#:
                                    13065


allegedly inflated premium. However, as applied to the immediate case, Deerfield addressed a

single disputed claim, not the 164 claims which Republic disputes. In Deerfield, the insured

presented evidence that its insurer overpaid settlement funds. The Deerfield court ultimately

held that “Hartford had the burden to prove that the amount of the settlement did not exceed the

highest reasonable amount at which the claim would probably have been settled if the claim had

been properly investigated.” Id. at 324. Implicitly, the Deerfield court limited the burden shift to

the specific claims raised by the insured. In fact, other courts have quoted Deerfield for the

proposition that when evidence is shown for “a claim,” the burden shifts on that particular claim,

never mentioning what happens with the remaining undisputed claims. National Surety v. Fast

Motor, 572 N.E.2d 1083, 1087 (Ill. App. 1991); Liberty Mutual v. Tribco, 185 F.R.D. 533, 540

(N.D.Ill. 1999).

        The Court in Insurance Co. of North America v. Binnings Construction Co., 288 So.2d

359 (La. App. 1974) did make a determination regarding the scope of burden shifting. In

Binnings, the insurer settled approximately 130 claims and the insured sought to shift the burden

of proving reasonable settlement upon the insurer. 288 So.2d at 362. However, the insured cast

doubt on all but two claims. The court noted:

                The insurer need not give evidence, as to each claim settled, of circumstances of
                the accident or of what the medical reports indicated so as to indicate probability
                of liability and quantum; nor should a court be obliged to decide the
                reasonableness of each settlement.

Id. Instead, the Court decreed that since the insured had only “cast sufficient doubt” upon the

insurer’s handling of two (2) claims, only the reasonableness of the settlement in those claims

need be defended and proved reasonable by the insurer. Id. The progeny of Binnings have held

similarly, finding that this approach avoids “needless extended litigation over claims which are

not seriously in dispute . . ..” National Fire Union Ins. Co. v. Roubin & Janeiro, Inc. 38 Va. Cir.


                                                 -8-
CM61:36901:243711:2:LEXINGTON
Case: 5:03-cv-00494-KSF-JBT Doc #: 365 Filed: 01/12/07 Page: 9 of 48 - Page ID#:
                                    13066


344, 346 (1994). See Also, Liberty Mutual Fire Insurance Company v. Marty’s Express, Inc. et

al, 910 F.Supp. 221, 224 (E.D. Pa. 1996) (avoiding “protracted proceedings and production of

evidence concerning matters not legitimately at issue.”)

        The issue of whether the burden shifts to an insurer regarding claims files and issues not

brought into question by the insured was squarely addressed in Royal Insurance Co. v. Latrobe

Construction 2006 U.S. Dist. LEXIS 324, at *16-*18 (W.D.Pa. 2006). In Latrobe, the insured

Latrobe’s expert identified specific errors in 14 workers compensation claims files. However,

Latrobe asked the court to conclude that Royal Insurance failed to meet its burden of persuasion

regarding seven files which Latrobe’s expert did not identify as containing errors. In response,

the court held:

                  At the onset, the court finds Latrobe’s argument somewhat disingenuous. In light
                  of Ms. Haley’s [Latrobe’s expert] failure to criticize the seven files, Royal and
                  Mr. Weber [its expert] limited their discussion of the individual files to the other
                  fourteen claimants. This approach was consistent with the good litigation practice
                  of limiting the parties’ analysis to areas of genuine dispute. Such narrowing of
                  the issues is essential to the judicial process, and Latrobe’s suggestion to the
                  contrary carries at least a hint of gamesmanship.

Id. at 16.

        Here, Republic is promoting the same type of gamesmanship and unnecessary expansion

of the issues. Republic retained its experts to review a specific number of files and thereafter

identify criticisms. In response, the Liberty Companies’ experts addressed the files, issues and

resulting damages identified by Republic’s experts.19 Now, Republic urges that because the

Liberty Companies’ claims handling experts did not expressly address every claims handling

19
  The Liberty Companies take great exception with Republic’s characterization and description of the opinions from
the Liberty Companies’ experts as included on pages 38-43 of Republic’s Memorandum in Support of its Motion for
Summary Judgment concerning the burden of proof [DKT #265], and Motion for Summary Judgment pages 18-38
[DKT #267]. Suffice it to say, the Liberty Companies’ experts patently disagree with both the methodology and
conclusions presented by Republic’s experts. The Liberty Companies submit that the analysis employed by its
experts is not germane to the Summary Judgment issues presented by Republic. In the event the Court prefers
additional discussion and argument regarding this matter, the Liberty Companies are certainly willing to fully
defend the qualifications and opinions of its experts by way of supplemental memoranda.


                                                       -9-
CM61:36901:243711:2:LEXINGTON
Case: 5:03-cv-00494-KSF-JBT Doc #: 365 Filed: 01/12/07 Page: 10 of 48 - Page ID#:
                                    13067


element within every file (even those files and activities to which Republic’s experts relate no

resulting damage), the Liberty Companies therefore cannot meet their burden of proof as a

matter of law. Republic promotes a rule that if it criticizes the settlement activity in a single file,

then the Liberty Companies have the burden of proving the reasonableness of its settlement

activities as well as the reasonableness of every other file activity from the beginning to the end

of every claim. It is significant to note that some of Republic’s files have remained open for

approximately eight (8) years and contain literally thousands of file entries. With regard to any

individual file, litigating the disputed issues presented by Republic and its experts will be

incredibly time consuming and document intensive. Expanding this effort to include issues not

raised by Republic’s experts within all claims files would be completely unnecessary, wholly

unfair to the Liberty Companies, and an utter waste of judicial resources.

        B.      Irrespective of the Burden of Proof, the Liberty Companies Can and Will
                Present Evidence Sufficient To Rebut The Evidence Put Forward By
                Republic.

        Even if this Court finds that the Liberty Companies have the burden of proving the

reasonableness of its claims handling beyond the issues presented by Republic and its experts,

the Liberty Companies are able satisfy such a burden. Specifically, at the trial of this case, the

Liberty Companies anticipate presenting multiple claims handlers and team managers to discuss

the handling of individual claims files. These claims handlers and team managers will be able to

thoroughly educate the trier of fact regarding the claims handling process as well as the reasons

for various file activities. These witnesses manage claims files on a daily basis, for Republic as

well as other customers, and will be able to provide a wealth of relevant information to the trier

of fact. Their testimony, alone and in conjunction with the Liberty Companies’ experts, will

allow the Liberty Companies to defend their claims handling efforts irrespective of which party

bears the burden of proof.

                                                 -10-
CM61:36901:243711:2:LEXINGTON
Case: 5:03-cv-00494-KSF-JBT Doc #: 365 Filed: 01/12/07 Page: 11 of 48 - Page ID#:
                                    13068


V.          REPUBLIC HAS NOT PROVED ANY OF ITS CAUSES OF ACTION AS A
            MATTER OF LAW

            A.     Republic Cannot Establish, As a Matter of Law, That Any of the Liberty
                   Companies Have Committed Breach of Contract.

            Republic correctly states in its Motion that, “[u]nder both Massachusetts and Florida law,

a breach of contract claim requires the plaintiff to prove (i) the existence of a valid contract; (i) a

material breach; and (iii) damages.”20 As Republic notes in their motion, “no party in this case

disputes the existence of a series of contracts and agreements between the parties,”21 and

therefore the fact that element number one has been met. Specifically, no dispute exists

regarding whether the parties entered into the contracts identified in the Liberty Companies’

Counterclaim at paragraph 2.22 All of these are either the policies from the three years at issue in

this case or are signed agreements which reference one or more of the policies. Republic has

not, to date, presented evidence of any other policies or signed agreements referencing the

policies. And according to Republic, “[i]n determining what document and agreements

constitute the contracts between the parties, the Court should look to the fundamental tenet of

insurance law that ‘an insurer, as the writer of an insurance policy, is bound by the language of

the policy, which is to be construed liberally in favor of the insured and strictly against the

insurer.’”23 Therefore, keeping with Republic’s own statement of the law, the Court should look

to the terms of the agreements identified in the Counterclaim to determine whether the second

element exists – material breach.




20
     Republic’s Memorandum at 39.
21
     Id. at 38.
22
     Amended Answer and Counterclaim [DKT #28].
23
 Republic’s Memorandum at 39 citing Berkshire Life Ins. Co. V. Adelber, 698 So.2d 828, 830 (Fla. 1997) and
August A Busch & Co. of Mass., Inc. v. Liberty Mut. Ins. Co., 158 N.E. 2d 351, 354 (1959) (emphasis added).


                                                     -11-
CM61:36901:243711:2:LEXINGTON
Case: 5:03-cv-00494-KSF-JBT Doc #: 365 Filed: 01/12/07 Page: 12 of 48 - Page ID#:
                                    13069


                    1.        The 1998-1999 Agreements.

           There were two Workers’ Compensation and Employer Liability Policies for the policy

periods of June 30, 1998 to June 30, 1999. One policy was issued for states that had approved

the large deductible option and the other for the “handful” of states that had not approved the

large deductible option. The second policy included a paid loss, retrospective rating plan that

mirrors the large deductible plan.24 Both of these policies contain the following provision:

                    A. The Policy

                    This policy includes at its effective date the Information Page and all
                    endorsements and schedules listed there. It is a contract of insurance between you
                    (the employer named in item 1 of the Information Page)[Republic]and us (the
                    insurer named on the Information Page) [Liberty Mutual Insurance Group]. The
                    terms of this policy may not be changed or waived except by endorsement issued
                    by us to be part of this policy.25

           The parties also agreed upon an Excess Insurance Policy for Self-Insurance of Workers’

Compensation and Employers Liability and an Excess Indemnity Insurance Policy. Both of

these policies contain the following provision:

                    A. THE POLICY

                    This is a contract of excess insurance between you [Republic] and us [Liberty
                    Insurance Corporation]. It includes the Information Page. The only agreements
                    relating to this excess insurance are stated in the policy. The terms of this policy
                    may not be changed or waived except by an endorsement issued by us to be part
                    of this policy.26

Also included in the documentation memorializing these first agreements was a Policy Jacket for

Workers’ Compensation and Employer’s Liability and Insurance Policy.27 The Policy Jacket


24
  Transcript of the Deposition of Mike Pisari (“Pisari Depo”), attached in relevant portions as Exhibit 3, at 140:1-
15.
25
  See, e.g., General Section, A of Exhibit 3 to Defendants’ Motion for Partial Summary Judgment on Counts One
and Two of Their Counterclaim [DKT # 261].
26
  See, e.g., Exhibit 4, Excess Insurance Policy for Self Insurance of Workers’ Compensation and Employers
Liability at General Section, A.
27
     Attached as Exhibit 5.


                                                        -12-
CM61:36901:243711:2:LEXINGTON
Case: 5:03-cv-00494-KSF-JBT Doc #: 365 Filed: 01/12/07 Page: 13 of 48 - Page ID#:
                                    13070


contains the same integration clause as the policies.

           In February of 1999, the parties entered into an Indemnification Agreement and a Surety

Bond Security Schedule (Guarantee Agreement). The Guarantee Agreement guarantees

deductible reimbursement and premium payment of all Republic’s obligations to Liberty Mutual

arising out of or in connection with the two Workers’ Compensation and Employer Liability

Policies. The Indemnification Agreement provides that Republic will reimburse Liberty Mutual

for specified taxes and assessments to the extent attributable to the deductible amount under the

policies. The Indemnification Agreement specifically references the Guarantee Agreement.

These Agreements have effective dates of June 30, 1998.

           During this first year of the relationship between Republic and the Liberty Companies,

Republic purchased a “combined product” from the Liberty Companies whereby certain services

would be handled by Helmsman Management Services in lieu of Liberty Mutual Insurance

Company.28 This agreement was memorialized in a document, with two amendments, that has

been referred to in this litigation as the “Helmsman Agreement.”29 The Helmsman Agreement

has an effective date of June 30, 1998 and was originally set to expire on January 1, 2000. The

Helmsman Agreement contains the following provision:

                    IV. CHANGES

                    Notice to any agent or knowledge possessed by any agent or by any other person
                    shall not effect a waiver or change in any part of this Agreement or prevent
                    Helmsman from asserting any right under the terms of this Agreement. The terms
                    of this Agreement may not be waived or changed except by the mutual agreement
                    of the parties as evidenced by a written amendment which is signed by a duly
                    authorized officer of Helmsman.30

The Helmsman Agreement contains a choice of law provision indicating that it shall be
28
     Pisari Depo at 125:17-126:6.
29
  See Exhibit 6 to Defendants’ Motion for Partial Summary Judgment on Counts One and Two of Their
Counterclaim [DKT # 261].
30
     Id. at §V, “Terms and Conditions.”


                                                    -13-
CM61:36901:243711:2:LEXINGTON
Case: 5:03-cv-00494-KSF-JBT Doc #: 365 Filed: 01/12/07 Page: 14 of 48 - Page ID#:
                                    13071


“construed under and governed by the law of the Commonwealth of Massachusetts.” “With

respect to claims serviced pursuant to [the Helmsman Agreement],” the agreement provides that

“Helmsman will act as agent for the Customer and its Relevant insurer to investigate, negotiate,

adjust or settle such claims in accordance with agreed upon Special Claim Service Instructions, if

any.”31 There are no attachments to the Helmsman Agreement. Section XI(D) says that

“Helmsman shall perform its obligations under this Agreement in a manner that is reasonable

and prudent for the services provided; but Helmsman does not warrant that its performance will

be error free.”32

                    2.        The 1999-2000 Agreements.

           In May of 1999, the Liberty Companies provided Republic with a renewal proposal.33

After negotiations, the parties decided to renew their relationship. The parties executed

Amendment Two to the Helmsman Agreement, terminating the agreement at the end of the

1998-1999 policy year instead of in 2000.34 Dunne testified that Gezzer elected to terminate the

Helmsman Agreement and go to . . . more of a traditional deductible program mainly because he

didn’t like getting field investigation service charges separately.” 35 In June of 1999, Liberty

Mutual Insurance Group issued a renewal binder pending issuance of the 1999-2000 policies.36

Upon expiration of the renewal binder, four policies went into effect– two Workers’

Compensation and Employer Liability Policies, an Excess Insurance Policy for Self-Insurance of

Workers’ Compensation and Employers Liability and an Excess Indemnity Insurance Policy.


31
     Id. at §XI(C) (emphasis added).
32
     Id. at §XI(D) (emphasis added).
33
     See Exhibit 6 to the Dunne Depo.
34
  See Exhibit 6 to Defendants’ Motion for Partial Summary Judgment on Counts One and Two of Their
Counterclaim [DKT # 261].
35
     Dunne Depo at 92:7-11.
36
     Attached as Exhibit 6.


                                                    -14-
CM61:36901:243711:2:LEXINGTON
Case: 5:03-cv-00494-KSF-JBT Doc #: 365 Filed: 01/12/07 Page: 15 of 48 - Page ID#:
                                    13072


The parties also entered into an indemnification agreement and a Letter of Credit and Surety

Bond Security Schedule (Guarantee Agreement) for the 1999-2000 policy year.

          At no time during the negotiations for the 1999-2000 renewal did the parties agree that

minimum customer requirements, special service instructions or best practices would be part of

any of the contracts between the parties. Despite Republic’s contentions that parts of the “1999

Sold Plan” serve as evidence that the parties agreed to particular claims service instructions,

Dunne has testified that these were simply instructions that the Liberty Companies provided to

their claims handlers, in their internal claims handling system, to reflect the expectations of

Republic. They were “guidelines” that the claims handlers would work to meet as “best as

possible,” but they “were not part of the contracts that [Republic and the Liberty Companies]

agreed to.”37 Republic cannot present any evidence to the contrary and they are bound by their

30(b)(6) witness designated to testify regarding contract formation, David Spruance, who does

not know anything about the formation of the contracts between the parties. Aerel, S.R.L. v.

PCC Airfoils, L.L.C., 2006 U.S. App. LEXIS 12601, 26-27 (6th Cir. 2006); see also . Penny v.

U.P.S., 128 F.3d 408, 415 (6th Cir. 1997), and Reid v. Sears, Roebuck & Co., 790 F.2d 453, 459

(6th Cir. 1985).

          As with the 1998-1999 policy year, no evidence exists that any signed documents, other

than those described above, were part of the agreement between the parties for the 1999-2000

policy year.

                  3.      The 2000-2001 Agreements.

          On June 30, 2000, the Liberty Companies presented Republic with a renewal proposal for

Year 3. The parties renewed their relationship and again entered into four policy agreements, an


37
     Dunne Depo 97:21-99:24.


                                                 -15-
CM61:36901:243711:2:LEXINGTON
Case: 5:03-cv-00494-KSF-JBT Doc #: 365 Filed: 01/12/07 Page: 16 of 48 - Page ID#:
                                    13073


Indemnification Agreement and a Letter of Credit and Surety Bond Security Schedule

(Guarantee Agreement) for the 2000-2001 policy year.38 The parties also entered into a 2000

Workers’ Compensation Partnership Agreement for this policy year. The Partnership Agreement

provides an incentive for both parties to engage in a mutual effort to reduce RSI’s workers

compensation claims costs. No evidence exists that any other signed documents were part of the

agreement between the parties for the 2000-2001 policy year and as with the other years, no

evidence exists that the parties intended for any other documents to be a part of the their

agreement.39

                   4.       “Other” Documents

           The above described negotiated contracts describe the entire agreement between Republic

and the Liberty Companies. Nonetheless, Republic contends that at least three other documents

constitute the contract: Minimum Customer Requirements, Special Service Instructions, and Best

Practices. Republic has not and cannot meet its burden of proof to establish, as a matter of law,

that these documents were part of the contractual relationship between the Liberty Companies

and Republic.

           The Minimum Customer Requirements is a document contained in the materials

compiled by Dunne and others for the “meet and greet” with Republic Industries representatives

who were possibly going to be involved with Republic.40 The document clearly states that it

relates to Republic Industries, not Republic Services.41 It is not signed and it is not referenced in


38
  See Exhibit 11 to Defendants’ Motion for Partial Summary Judgment on Counts One and Two of Their
Counterclaim [DKT #261].
39
   Republic claims that because the year 3 proposal indicated that “Claims services included in the pricing will
continue at current levels,” the Special Service Instructions should be incorporated by reference into the policy.
Republic’s Motion at 12. Again, Republic cites no authority for this proposition and provides no cites to the record
to indicate that this was the understanding of anyone involved in the negotiations for the 3rd policy year.
40
     Dunne Depo. at 54:2-55:4.
41
     See Exhibit H to Republic’s Memorandum at LM-009466-LM-009475.


                                                        -16-
CM61:36901:243711:2:LEXINGTON
Case: 5:03-cv-00494-KSF-JBT Doc #: 365 Filed: 01/12/07 Page: 17 of 48 - Page ID#:
                                    13074


any of the policies over the course of the parties’ three year relationship. Dunne testified that the

document was never discussed in the September meeting. In fact, “there were no workers’

compensation claims management minimum customer requirements for Republic Services in

place for the period of June 30th, 1998, forward.”42 Additionally, not a single Liberty claims

handler of the 39 that Republic deposed has ever seen the document upon which Republic relies.

Republic simply cannot establish, as a matter of law, that the Minimum Customer Requirements

was part of the parties’ agreement.

           Republic claims that the evidence that the parties were bound by a December 14, 2000

version of the SSIs43 is “unassailable.” But the only evidence that Republic then cites to is the

testimony of claims handlers across the country. Remarkably, Republic does not cite to

testimony that the SSIs were part of the negotiated agreement between Republic and the Liberty

Companies (because (1) there is no such testimony and (2) no claims handlers were involved in

the contract negotiations), but they cite to the testimony of a team manager who said “I think it

was an agreement between Sales and Republic and that agreement was probably input by

Sales.”44 Besides Mr. Renner’s testimony and an incorrect citation to the testimony of a claims

handler in Glendale, California,45 Republic can only cite to the testimony of claims handling

employees who say that they were not bound by the SSIs, but that they were simply guidelines

for handling claims for a specific customer. Republic dismisses this testimony by claiming that


42
     Dunne Depo at 81:8-12.
43
   See Exhibit A to Republic’s Response In Opposition to defendants, the Liberty Companies’ Motion for
Preliminary Injunction Pursuant to FRCP 65(a) [DKT #120]. While Republic mention others versions of the SSIs in
its Memorandum in support of this Motion, the 9/14/00 version is the only version relied upon by Republic’s expert,
Thomas Ballard, in his report.
44
     Republic’s Memorandum at 47 citing deposition testimony of Steve Renner at 18 (emphasis added).
45
  Republic also cites to the deposition testimony of Danielle Adair, a claims handler in Glendale, California.
Republic attributes the following quote to Ms. Adair: “Special Service Instructions . . . had been negotiated
between . . .Liberty . . . and the customer.” Republic provides the following page cites for this quote: 44:5-45:5,
46:23-48:4 and 49:7-13. It is unclear at which cite Republic contends this quote appears, but the fact is that Ms.
Adair does not say this anywhere on pages 44 through 50.


                                                         -17-
CM61:36901:243711:2:LEXINGTON
Case: 5:03-cv-00494-KSF-JBT Doc #: 365 Filed: 01/12/07 Page: 18 of 48 - Page ID#:
                                    13075


the deponents were “coached” and baldly asserting that the claims handlers were never able to

“effectively” reconcile their testimony with entries into the computerized claims handling system

that, according to Republic’s characterization, indicates that the employees considered the SSIs

to be binding.46 Republic’s characterization of the testimony of claims handlers is far from

“unassailable” evidence that the SSIs were part of the contract between the parties and indeed,

this Court has already noted that claims handlers have “no way of knowing” whether particular

documents were contractual or binding.47

           As with the minimum customer requirements, Dan Dunne testified that SSIs were not

discussed at the September 1998 “meet and greet” between Republic Industries, Inc. and the

Liberty Companies. According to Dunne, there were no SSIs negotiated between Republic and

the Liberty Companies.48 “No discussions regarding the service component of Republic Services

even occurred until at least the spring of 1999 [,when Gary Gezzer was hired as risk

manager.].”49 After Gezzer was hired, Mr. Dunne met with him and reviewed most of the

financial program.50 They did not discuss Special Service Instructions. Gezzer “didn’t really

have any specific claims instruction that he was looking for. And it was not . . . a topic of

discussion. It was not high on [Gezzer’s] priority list.”51

           The third document, outside of the signed agreements containing integration clauses, that
46
     Republic’s Memorandum at 49-50.
47
  See, Transcript of Official Proceedings: Hearing on Motion for Preliminary Injunction held on 6/5/06 before
Judge Karl S. Forester, DKT#142 at 12:2-4.
48
   Id. at 83:11-21. Republic contends that “[i]t naturally follows that the MCR were meant to be read in conjunction
with the provision of the Helmsman Contract requiring Helmsman (as designee of the Liberty Companies and as
Republic’s agent) to conform to ‘agreed upon Special Claims Service Instructions; the difference here is one of
form, not substance.” Republic’s Motion at 9. It is not entirely clear to the Liberty Companies what Republic
means by this statement, but to the extent Republic is suggesting that a page from the materials relating to Republic
Industries that Dunne and others compiled for the September meeting is to be read as part of the Helmsman
Agreement, the Liberty Companies note that Republic has cited no authority for such a proposition and has no cite
to the record to indicate that anyone involved in the negotiations relied on this page as part of the contract.
49
     Dunne Depo at 84:7-9
50
     Id at 84:11-15
51
     Id. at 84:16-27.


                                                        -18-
CM61:36901:243711:2:LEXINGTON
Case: 5:03-cv-00494-KSF-JBT Doc #: 365 Filed: 01/12/07 Page: 19 of 48 - Page ID#:
                                    13076


Republic claims is part of the parties’ contract is the Liberty Companies’ internal Best Practices.

Republic admits in its own Memorandum that Best Practices were not even in place until after

the policies were issued for the third year of the parties’ relationship, but still contends, with no

explanation, that they were part of the parties’ agreement from the beginning.52 Again, Republic

relies on the testimony of claims handlers who did not participate in the negotiation of the

contracts to support their position that Best Practices were part of the contract. And again,

Republic accuses those claim handlers whose testimony they did not like of being

“disingenuous.”

           In addition, Republic relies on two other sources as support for the proposition that Best

Practices were part of the contract between the parties: (1) an email from Mark Sydney, of

Liberty Mutual Insurance Companies’ home office, to the managers of the regional claims

offices distributing the Best Practices and indicating that they represent the company’s

“commitment to providing the highest quality work product to all of [their] customers,” and (2)

the fact that the Liberty Companies perform internal audits to monitor compliance with Best

Practices. Neither of these establish, as a matter of law, that Republic and the Liberty

Companies intended for Best Practices to be a part of their contract. At best, they establish that

the Liberty Companies hold their employees to a high standard. Surely Republic is not

suggesting that companies who encourage their employees to go above and beyond what is

required of them should be held liable for breach of contract if and when those employees do not

meet those high standards. The policy implication of such a position would be to discourage

businesses from challenging their employees and to encourage them to provide only the bare

minimum in customer service.53

52
     Republic’s Memorandum at 50.
53
     Courts have held that internal claims handling guidelines are just that – guidelines. See, Royal Insurance

                                                           -19-
CM61:36901:243711:2:LEXINGTON
Case: 5:03-cv-00494-KSF-JBT Doc #: 365 Filed: 01/12/07 Page: 20 of 48 - Page ID#:
                                    13077


           The attachments to the email upon which Republic relies are consistent with the Liberty

Companies’ position and the testimony of its claims handlers that best practices are “guidelines”

to be followed and not part of the agreement with any customer. See, for example, Exhibit 7 at

LM-029225 - 029227:

                   Should customers expect 100% compliance with the Best Practices on all cases?

                   No. In fact we have prepared an internal document for use in helping us set
                   reasonable expectations per activity. The majority of the standards are 90% or
                   greater, however, there are some that are set at 85%. The standards are intended
                   to account for claims judgment and other known factors that impact execution (for
                   example he may be some instances where we do not want the check to go out in
                   xx days).

                   Will we share our Best Practices audits with customers?

                   No.

                   Are Best Practices just more protocols to be followed? Are they really expected
                   to improve outcomes and customer service?

                   Yes, Best Practices are protocols, but we are working hard to insure that all of our
                   case handlers understand that the activities are not the end product. Our goal is to
                   ensure that each Best Practice correlates the best final case outcome (e.g. initial
                   claimant contact is intended to gather facts and establish a relationship, not just
                   meet time frames).

It was Republic’s questioning of Dan Dunne regarding this email and accompanying questions

and answers that prompted Mr. Dunne to say “you know, we’ve set a lofty goal, I guess.”

Contrary to Republic’s characterization that this was some sort of admission by Mr. Dunne that

the Liberty Companies failed to live up to its duties, Mr. Dunne is acknowledging that the

Liberty Companies expect the highest level of customer service from their employees.54


company of America v. Latrobe Construction Co., 2006 U.S. Dist. LEXIS 324, *42 (W.D. Penn. 2006) (“As fact
finder, the Court concludes that Royal’s ‘Best Practices’ guidelines. . . were just that: discussion of best practices for
claims handling in general, not taking into account the facts and circumstances present in any case.”)
54
     Dunne Depo at 162:8-12; 162:21-163:6.
Q. Okay. Wouldn't you agree with me that the commitments that are evidenced by the Best Practices which I've
just identified represent how your company will handle claims files going forward of Republic, going forward from
January 1st, 2001?


                                                          -20-
CM61:36901:243711:2:LEXINGTON
Case: 5:03-cv-00494-KSF-JBT Doc #: 365 Filed: 01/12/07 Page: 21 of 48 - Page ID#:
                                    13078


           Republic can offer no evidence to refute these facts regarding contract formation because

they are bound by the testimony of their risk manager, David Spruance, who was designated as a

30(b)(6) witness on the subject. Aerel, S.R.L. v. PCC Airfoils, L.L.C., 2006 U.S. App. LEXIS

12601, 26-27 (6th Cir. 2006); see also . Penny v. U.P.S., 128 F.3d 408, 415 (6th Cir. 1997), and

Reid v. Sears, Roebuck & Co., 790 F.2d 453, 459 (6th Cir. 1985). But Mr. Spruance has no

knowledge of the contract formation. Mr. Spruance was not employed by Plaintiff when the

policies with Defendants were negotiated. He testified that he did not “review any materials that

memorialize any discussions or negotiations between Liberty Mutual and Republic prior to the

effective date of the Workers’ Compensation program,” 55that no one at Republic Services spoke

to him “about the details of any negotiations between Liberty Mutual and Republic regarding the

Workers’ Compensation program prior to its effective date,”56 that he does not “know who

handled the discussions between Liberty Mutual and Republic leading up the formation of the

Workers’ Compensation program,”57 and that he never asked who handled such negotiations.58

           The entire agreement between Republic and the Liberty Companies is contained in the

documents identified in the Counterclaim and described in subparts V(A)(1)-(3) above. As this

Court has preliminarily recognized, documents outside of the parties’ express written agreement

cannot be considered “amendments to the policies.”59


...
A. These Best Practices are, again, just as they've kind of indicated, they're Best Practices that we strive to meet.
There are certain things in these that you cannot go back and do after the fact. Three-point contact, for example, is
one of those. I am not a claims expert by any means, sir, so I cannot answer all of those questions specifically, but
it's not -- our goal, as I stated earlier, was 100 percent compliance. But even in this document, it is through the
questions and answers shown that that's our goal but that's -- you know, we've set a lofty goal, I guess.
55
  Transcript of the testimony of David Spruance (“Spruance Depo.”),attached in relevant portions as Exhibit 8, at
159:1-8
56
     Id. at 160:5-19
57
     Id. at 160:10-13
58
     Id. at 160:14-15.
59
     June 7, 2006 Opinion and Order on Preliminary Injunction, DKT #143 at 8.


                                                         -21-
CM61:36901:243711:2:LEXINGTON
Case: 5:03-cv-00494-KSF-JBT Doc #: 365 Filed: 01/12/07 Page: 22 of 48 - Page ID#:
                                    13079


                       Each policy contains a merger clause limiting the agreement between the parties
                       to the express terms of the policy and limiting changes or waivers to
                       endorsements issued by Liberty. The SSI’s and MCR’s are not signed by either
                       party and were not issued as party of any Liberty endorsement. They are internal
                       directives or guidelines or instructions to Liberty personnel regarding how to
                       handle specific matters that may arise in administering the WC Program.60

Both this Court and Republic recognize that the “policy language controls” the relationship

between an insured and an insurer.61 Accordingly, Republic has not, and cannot, establish the

second element of its breach of contract claim because its entire claim rests upon alleged

breaches of documents outside the parties’ agreement.

            B.         Republic Cannot Establish, As a Matter of Law, That the Liberty Companies
                       Have Committed Any of the Various Torts They Allege

            As a threshold matter, Plaintiff’s motion for partial summary judgment on its various tort

claims is irrelevant because, as the Liberty Companies explain in its own previously filed partial

summary judgment motion, those claims are barred by the well-established rule of economic

loss.62 The Liberty Companies adopt, incorporate, and reiterate herein their partial summary

judgment argument.

            In short, under long-standing Massachusetts law, and “in accordance with the majority of

jurisdictions that have considered the issue, purely economic losses are unrecoverable in tort and

strict liability actions in the absence of personal injury or property damage.’” Aldrich v. ADD,

Inc., 770 N.E.2d 447, 454-455 (Mass. 2002), quoting FMR Corp. v. Boston Edison Co., 613

N.E.2d 902 (Mass. 1993) (rejecting claims for economic losses of a business arising out of power

outages); Garweth Corp. v. Boston Edison Co., 613 N.E.2d 92, 93 (Mass. 1993) (holding that

plaintiff’s claims were thwarted by economic loss rule limiting recovery for economic losses in

60
     Id. at 8 and 9.
61
     Id.; Republic’s Memorandum at 39.
62
 Memorandum in Support of Motion For Partial Summary Judgment on Plaintiff’s Claims for Breach of Fiduciary
Duty and For Partial Summary Judgment Based On the Rule of Economic Loss at pp. 15-16, DKT # 254.


                                                      -22-
CM61:36901:243711:2:LEXINGTON
Case: 5:03-cv-00494-KSF-JBT Doc #: 365 Filed: 01/12/07 Page: 23 of 48 - Page ID#:
                                    13080


tort-based strict liability or negligence). Most significantly, Republic alleges no physical injury

or damage to property whatsoever, and Republic has made no showing and the record contains

no evidence that the Liberty Companies are responsible for any personal injury or physical

damage. Republic’s claim for damages is entirely pecuniary.63 Indeed, Republic in each of its

three complaints states or reiterates that this case entirely “arises from a contractual relationship”

between Republic and the Liberty Companies.64 For these reasons and all of the reasons set forth

in the Liberty Companies’ Motion For Partial Summary Judgment based on the rule of economic

loss, Republic’s claims for negligence, bad faith, fraud, intentional misrepresentation, and

negligent misrepresentation are barred. Nonetheless, the Liberty Companies will briefly address

Republic’s extra-contractual claims below.

                    1.       Negligence

           The elements of negligence under both Massachusetts and Florida law are (1) a duty

recognized by law, (2) breach of the duty, (3) a causal relation between the breach and the

resulting injury and (4) actual loss or damage. Jupin v. Kask, 447 Mass. 141 (Mass. 2006);Clay

Electric Cooperative, Inc. v. Johnson, 873 So. 2d 1182, 1185 (Fla. 2003). Contrary to Plaintiff’s

assertion that “summary judgment for the insured is proper once the duty and breach are

established,” proof of damage resulting from an alleged breach of duty is essential to the

negligence cause of action and summary judgment without such proof is inappropriate.65

           Under the section of its brief titled “Negligence”, Republic does not identify what

specific duties the Liberty Companies have allegedly breached to subject them to liability for

63
     Id.; Republic’s Supplemental Rule 26(e)(1) Disclosures, attached as Exhibit 9.
64
   Complaint at Introduction attached to Notice of Removal (emphasis added), DKT #1; First Amended Complaint at
1, DKT #34; Second Amended Complaint at 1, DKT #61.
65
  Plaintiff cites two cases after its assertion that “summary judgment for the insured is proper once the duty and
breach are established,” but neither case stands for this proposition. See Herbert A. Sullivan, Inc. v. Utica Mut. Ins.
Co., 788 N.E. 2d 522; 531-32 (Mass. 2003); see also Hartford Cas. Ins. Co. v. New Hampshire Ins. Co., 628 N.E. 2d
14 (Mass. 1994).


                                                          -23-
CM61:36901:243711:2:LEXINGTON
Case: 5:03-cv-00494-KSF-JBT Doc #: 365 Filed: 01/12/07 Page: 24 of 48 - Page ID#:
                                    13081


negligence except to say that “[a] tort action may also be utilized to seek redress for negligent

performance of a contractual duty.” While the Liberty Companies do not concede that such

remedy is actually available under either Massachusetts or Florida law, even taking Republic’s

statement as true for purposes of this Motion, Republic cannot establish, as a matter of law, that

any of the Liberty Companies negligently performed a contractual duty. The only “contractual

duties” Republic alleges the Liberty Companies have breached are contained in the MCRs, SSIs

and Best Practices. As discussed above, none of these were part of the contract between the

parties and therefore they cannot be the basis for Republic’s negligence claim.

                2.       Fiduciary Duty

        This Court has recently recognized that whether the contracts in this case created a

fiduciary relationship is “governed by Massachusetts law.” And Massachusetts law “is clear that

a business relationship is not transformed into a business relationship merely because trust was

reposed by one party in the other party.” Order at 13 citing Davidson v. General Motors Corp.,

786 N.E. 2d 845, 850 (Mass. App. 2003). This Court went on to say that:

                Instead, a fiduciary relationship is generally found when certain indicia are
                present, including when one party is in a position of great disparity or inequality
                relative to the other party, or the disparity in a relationship has been abused to the
                benefit of the more powerful party. General Corp. v. Sequoia Pacific Systems
                Corp., 44 F.3d 40, 44 (1st Cir. 1995).

                Here, the parties entered into a complex contractual relationship. Republic, a
                sophisticated, publicly traded corporation, negotiated multiple, comprehensive
                contracts with the Liberty Companies, including the Partnership Agreement. The
                Partnership Agreement requires both parties to seek to reduce workers’
                compensation claims costs. The Court finds no disparity in the sophistication or
                bargaining power of the parties. Moreover, there is no evidence that the Liberty
                Companies had knowledge of or willingly accepted a fiduciary duty to Republic.
                While the Liberty Companies did have access to Republic’s bank account to
                facilitate its contractual duties, this was merely a banking relationship creating no
                fiduciary responsibilities. See In re Greenburg, 212 B.R. 422, 428-29 (Bank. D.
                Mass. 1997).

        The Court denied the portion of Republic’s Motion for Partial Summary Judgment

                                                 -24-
CM61:36901:243711:2:LEXINGTON
Case: 5:03-cv-00494-KSF-JBT Doc #: 365 Filed: 01/12/07 Page: 25 of 48 - Page ID#:
                                    13082


seeking to impose a fiduciary duty on the Liberty Companies with regard to the Partnership

Agreement. The evidence before the Court regarding the sophistication of the parties and the

lack of a disparity or inequity in bargaining power has not changed. There is no evidence

suggesting that the Liberty Companies “had knowledge of or willingly accepted a fiduciary duty

to Republic” for any of the agreements into which the parties entered. Accordingly, this Court

should apply the same reasoning it applied in its order on Republic’s Motion for Partial

Summary Judgment regarding the Partnership Agreement and deny summary judgment on all of

Plaintiff’s claims for breach of fiduciary duty.

                   3.       Breach of the Implied Covenant of Good Faith and Fair Dealing

           Massachusetts courts recognize only one category of misconduct, relevant to this case,

that breaches the implied duty of good faith and fair dealing: “when a party to a contract

knowingly violates an express term of the contract in order to obtain benefits beyond that agreed

in the contract from the other party.” Marx v. Globe Newspaper Company, Inc., 15 Mass. L.

Rep. 400, *15 (Sup. Ct. Mass. 2002). Or, as Republic asserts, “when a party does something that

will have the effect of destroying or injuring the contractual rights of the other party.66 Under

Florida law, there are two restrictions on causes of action for breach of the implied covenant of

good faith and fair dealing. ‘First, the implied covenant of good faith should not be invoked to

override the express terms of the agreement between the parties. Second, a claim for breach of

the implied covenant of good faith and fair dealing cannot be maintained under Florida law

absent an allegation that an express term of the contract has been breached.” Insurance Concepts

and Design, Inc. v. Healthplan Service, Inc., 785 S.2d 1232, 1234-35 (Fla. App. 2001)

           Republic has not established, as a matter of law, that the Liberty Companies have


66
     Republic’s Memorandum at 41 citing Tufankjian v. Rockland Trust Co., 782 N.E.2d 1, 5 (Mass App. 2003).


                                                       -25-
CM61:36901:243711:2:LEXINGTON
Case: 5:03-cv-00494-KSF-JBT Doc #: 365 Filed: 01/12/07 Page: 26 of 48 - Page ID#:
                                    13083


violated an express term of the contracts between the parties. Therefore, Republic has failed to

establish a claims for unjust enrichment under either Massachusetts or Florida law. Additionally,

while Republic does not identify what the “implied covenants” are that the Liberty Companies

have allegedly breached, one can only assume that it is the standards set forth in the SSIs, MCRs

and Best Practices. Because the parties entered into express contractual agreements containing

integration clauses, any violation of an “implied duty” premised on outside documents would

“override the express terms of the agreement between the parties” and is therefore prohibited by

Florida law.

                 4.      Unjust Enrichment

        Under the section entitled “Unjust Enrichment” in its brief, Republic sets for the elements

of unjust enrichment: “(i) a benefit conferred on the defendant by the plaintiff; (ii) knowledge or

appreciation by the defendant of the benefit; and (iii) acceptance or retention by the defendant of

the benefit under such circumstances as to make it inequitable for the defendant to retain the

benefit without payment of its value.”67 Republic does not articulate what “circumstances” make

it inequitable for the Liberty Companies to retain any benefit conferred on them by Republic nor

does it make any attempt to apply the facts of this case to the elements of the cause of action.

Republic has not established its cause of action for unjust enrichment as a matter of law.

        C.       Republic Has Not Presented Sufficient Evidence Establishing, As a Matter of
                 Law, That the Liberty Companies Breached Any Duties Owed to Republic.

        With respect to summary judgment motions, all facts and inferences therefrom must be

viewed in the light most favorable to the non-moving party. Matsushita Elec. Indus. Co. v.




67
  Republic’ Memorandum at 42 citing Rollins, Inc. v. Butland, 932 So.2d 1172, 1187 (Fla. App. 2d Sit. 2006);
Mass Cash Register, Inc. v. Comtrex Sys. Corp., 901 F. Supp. 404, 424 (D Mass 1995) and Dines v. Liberty Mutual
Ins. Co., 548 N.E. 2d 1268, 1270.


                                                     -26-
CM61:36901:243711:2:LEXINGTON
Case: 5:03-cv-00494-KSF-JBT Doc #: 365 Filed: 01/12/07 Page: 27 of 48 - Page ID#:
                                    13084


Zenith Radio Corp., 475 U.S. 574, 587 (1986).68 Similarly, Republic acknowledges that with

regard to its tort and contract causes of action, “each of those causes of action requires the

demonstration of a duty and the breach of that duty as the predicate for the imposition of

liability.”69 The facts demonstrated by Republic, viewed in the light most favorable to the

Liberty Companies, do not establish that the Liberty Companies breached any duties owed to

Republic. Therefore, this Court should not enter summary judgment against any of the

Defendants.

           Republic’s proof of alleged breaches by the Liberty Companies is limited to three

sources: (1) testimony from Republic’s broker Suzanne Flynn,70 (2) depositions of the Liberty

Companies’ claims handlers,71 and (3) opinions from Republic’s FRCP 26 experts Tom Ballard

and David O’Brien.72 As will be further discussed below, these three sources, individually

and/or together, wholly fail to establish the Liberty Companies’ breach of any duties owed to

Republic.73

                    1.       Republic’s FRCP 26 claims experts fail to establish, as a matter of law, the
                             Liberty Companies’ breach of any duties.

           Republic presents its FRCP 26 claims experts, Tom Ballard and David O’Brien, to

establish the Liberty Companies’ failures to comply with applicable claims handling standards.74

However, the reports and deposition testimony of Ballard and O’Brien fall far short of

68
     Republic’s Memorandum at 16 [DKT #267].
69
     Id. at 72 [DKT #267].
70
     Id. at 12-16[DKT #267].
71
     Id. at 19, 61-72 [DKT #267].
72
     Id. at 58 [DKT #267].
73
   At first blush, the specific proof upon which Republic predicates its Motion is confusing. Within its Motion,
Republic frequently makes blanket conclusory statement regarding Liberty Companies’ alleged breaches. For
example “[i]t is beyond question that the Liberty Companies failed to adhere to these standards; and that the failure
to adhere materially damaged Republic.” (Republic’s Memorandum at 2 [DKT #267]). A careful reading of
Republic’s Motion ultimately identifies three sources supporting Republic’s claims of breach.
74
     Republic’s Memorandum at 56 (heading C) and 57 [DKT #267].


                                                        -27-
CM61:36901:243711:2:LEXINGTON
Case: 5:03-cv-00494-KSF-JBT Doc #: 365 Filed: 01/12/07 Page: 28 of 48 - Page ID#:
                                    13085


establishing the Liberty Companies’ liability as a matter of law. In fact, the Liberty Companies

previously moved this Court to completely exclude the opinions of Ballard and O’Brien.75

           With regard to Ballard’s opinions, his stated mission was to “identify and evaluate

deviations of the Liberty Companies from a series of standards” which are set forth within his

August 15, 2005 report.76 Ballard ultimately reviewed a total of 292 workers compensation

claims accruing between 7/1/98 and 6/27/01. His claims review process included reviewing

electronic and paper claims files, and then assessing the Liberty Companies compliance with a

defined set of claims handling standards, including:

                        1. Generally accepted industry standards for the handling of workers
                        compensation claims;

                        2. A set of guidelines and standards referred to as “Special Service Instructions”
                        (dated 12/14/00);

                        3. A set of guidelines and standards referred to as “Minimum Customer
                        Requirements” (dated 6/26/98); and

                        4. The Liberty Companies internal guidelines referred to as “Workers
                        Compensation Lost Time Cases Claims Best Practices/Service Standards” (dated
                        4/30/01). 77

For each of the 292 claims reviewed, Ballard created a summary page including disallowed

(damage) amounts relative to each file.78 A sampling of summary pages are collectively attached

as Exhibit 11. The summary pages set forth the foundation of Ballard’s opinions and why he

“did something”79 [i.e., why he disallowed particular amounts].

           In response to Ballard’s report of August 15, 2005, the summary pages generated for each


75
     DKT # 260 and 258.
76
     See, Ballard report dated August 15, 2005 at 1, Exhibit 10.
77
     Id. at 5-10, 13.
78
  Transcript of the deposition testimony of Tom Ballard (“Ballard Depo.”), attached in relevant portions as Exhibit
12, at 78:20-25 .
79
     Ballard Depo. at 88:9-12.


                                                          -28-
CM61:36901:243711:2:LEXINGTON
Case: 5:03-cv-00494-KSF-JBT Doc #: 365 Filed: 01/12/07 Page: 29 of 48 - Page ID#:
                                    13086


file, and other supporting documentation identified by Ballard, the Liberty Companies retained

Doug McCoy (“McCoy”) as an expert witness. In his nearly 500 page report dated April 26,

2006, McCoy comprehensively responded to, and generally disagreed with Ballard’s

methodology and ultimate conclusions.80 Admittedly, McCoy did acknowledge that some claim

handling costs should be disallowed. At the end of his report, McCoy summarized his opinions

as follows:

                 The Republic auditor’s conclusions are impossible to objectively quantify, other
                 than his assertion that [initial] contact of 24/48/48 [hours]not being made. In
                 many instances he is not correct. In other instances contact with the employee
                 was not possible due to attorney representation or hospitalization.

                 Contact within a set period of time is easy to quantify. In the claim management
                 industry, we believe that early contact will result in a better outcome, however
                 this is not easily quantified. For instance we know that making 24 hour contact
                 will not insure a better outcome any more than the failure to make 24 hour contact
                 will result in a poor outcome.

                 In this instance McCoy Consulting, Inc. was able to identify 251 of the files in
                 which the dates the claims were reported to Liberty Mutual by Republic was
                 noted. (See Exhibit E) This shows that the average time it took Republic to report
                 the claim once they were aware of the accident was 13 days. The median time
                 was 3 days. If Republic reports the claim 3 to 13 days after they were aware of an
                 accident the effect of 24 or 48-hour contact is diminished.

                 In addition the Republic auditor asserts, “Repeated and systematic failure to
                 handle claims in accordance with policy provisions and applicable standards,
                 statutes, rules, regulations.”

                 McCoy Consulting, Inc. found that to the contrary, the Republic auditor is not
                 familiar with applicable standards and specific statutes, rules and regulations in
                 the nineteen jurisdictions these files were handled in.

                 The individual response by McCoy Consulting, Inc. to the Republic auditor’s
                 comments on each file speaks for themselves. The Republic auditor failed to
                 demonstrate knowledge of claim management in general and workers’
                 compensation claim management specifically. Of the amount the Republic

80
   McCoy’s complete report responsive to O’Brien is attached as Exhibit 13. Normally, the Liberty Companies
would avoid tendering such a voluminous exhibit to the Court. However, because Republic urges that O’Brien’s
opinions establish liability as a matter of law, the Liberty Companies provide McCoy’s complete report in an effort
to highlight the multiple occasions upon which he challenges the validity O’Brien’s opinions based on both the facts
and the applicable workers compensation laws.


                                                       -29-
CM61:36901:243711:2:LEXINGTON
Case: 5:03-cv-00494-KSF-JBT Doc #: 365 Filed: 01/12/07 Page: 30 of 48 - Page ID#:
                                    13087


                    auditor disallowed, $16,209,342.20, McCoy Consulting, Inc. agrees with
                    $77,768.82 (see Exhibit D).

                    In all cases McCoy Consulting, Inc. found that Liberty Mutual handled the claims
                    reasonably and in good faith.

           To the extent Ballard opines that the Liberty Companies provided poor claims handling

which resulted in financial damages to Republic, McCoy squarely rebutted all of these opinions,

with the exception of $77,768.82. For purposes of background, McCoy is a claims expert with

32 years of workers compensation claims experience. He has spoken on numerous occasions

concerning claims management throughout the country and has edited a book titled Workers’

Compensation: The Survival Guide for Business, which is published by Lexis-Nexis.81 The

voluminous contents of McCoy’s report alone, viewed in the light most favorable to the Liberty

Companies, directly disputes the methodology and conclusions of Ballard. This factual dispute

is sufficient to withstand summary judgment.

           Republic spends two full pages of its Motion highlighting Ballard’s opinions regarding

the need for timely investigation and avoiding claims investigation delays.82 However,

Republic’s own delays in initially reporting claims to the Liberty Companies were prominent.

Republic’s recurring problems timely reporting claims was discussed by James O’Connor, its

Chairman and Chief Executive Officer, in a August 4, 2000 memorandum to all general

managers. O’Connor noted that Republic’s first reporting of workers compensation claims to the

Liberty Companies “is unacceptable and needs immediate improvement.”83 Without the benefit

of this memorandum, McCoy independently came to the same conclusion. Ballard’s complete

failure to consider Republic’s own contribution to alleged inflated claims costs raises sufficient


81
     See, McCoy curriculum vitae attached as Exhibit 14; Copy of book cover attached as Exhibit 15.
82
     Republic’s Memorandum at 56-58 [DKT #267].
83
     See, Exhibit 16.


                                                         -30-
CM61:36901:243711:2:LEXINGTON
Case: 5:03-cv-00494-KSF-JBT Doc #: 365 Filed: 01/12/07 Page: 31 of 48 - Page ID#:
                                    13088


questions of fact to defeat summary judgment.

           With regard to Republic’s California FRCP 26 claims expert, David O’Brien, two quotes

from his deposition testimony (which were also quoted by Republic) speak volumes regarding

the inherent unreliability of his opinions:

                     “you’re supposed to follow [best practices], because they’re in the interest of
                     everyone involved, the worker, the insurance company and insured.”84

                     “Liberty has come up with nationwide best practices that they offer to the
                     customer . . . that they are going to follow to ensure good result . . . If they don’t
                     follow them, they are mismanaging the claim.”85

           At no point in O’Brien’s report or his deposition testimony did he suggest that the Liberty

Companies’ Best Practices did not apply. Yet, Republic acknowledged on page 50 of its Motion

that Best Practices were not widely disseminated by the Liberty Companies until January 18,

2001, well after the beginning of the third consecutive policy period.86 O’Brien applied the Best

Practices to all claims and claims activities that he reviewed, even though the Best Practices were

not implemented until mid-way through the third and last policy year. The inherent unreliability

of this approach is further set forth within the Liberty Companies’ Motion to Exclude Testimony

from O’Brien.87

           Republic retained O’Brien to review and focus exclusively on 27 claims originating in

California.88 Ultimately, when O’Brien examined Liberty’s claims personnel activities, he

related their performance to several standards, including:

                     1.       Liberty’s own Special Service Instructions (dated 12/14/00);


84
  Transcript of the testimony of the deposition of David O’Brien (“O’Brien Depo.”), attached in relevant portions as
Exhibit 17 at 243:13-15; Republic’s Memorandum at 58 [DKT #267].
85
     O’Brien depo at 246:6-10; 251:16-18; Republic’s Memorandum at 58 [DKT #267].
86
     Republic’s Memorandum at 50 [DKT #267].
87
     DKT #258.
88
     O’Brien’s initial report of January 15, 2006 refers to 29 claims, but the actual counted total is 27, See, Exhibit 18.


                                                            -31-
CM61:36901:243711:2:LEXINGTON
Case: 5:03-cv-00494-KSF-JBT Doc #: 365 Filed: 01/12/07 Page: 32 of 48 - Page ID#:
                                    13089


                    2.      Liberty’s own Minimum Customer Requirements (dated 6/26/98);

                    3.      Liberty’s own Best Practices (dated 4/30/01); and

                    4.      Applicable California workers compensation statutes and regulations. 89

           After O’Brien assessed the Liberty Companies’ compliance with a defined set of

standards, he formulated opinions as to the amount of costs that should be either allowed or

disallowed in each file. Effectively, if O’Brien does not disallow a portion of an individual

claim, then Republic has not and cannot link any alleged file mishandling to a resulting financial

loss or damage. Further, after exchanging his January 15, 2006 report, O’Brien tendered a

March 11, 2006 report where in conclusory fashion he adopts the opinions of Ballard with “no

material disagreement with Mr. Ballard’s conclusions concerning the 292 claims files.”90

           In response to O’Brien’s reports of January 15, 2006 and March 11, 2006, the Liberty

Companies again retained Doug McCoy. In his 102 page report dated April 25, 2006, McCoy

compressively responded to, and generally disagreed with O’Brien’s methodology and ultimate

conclusions. 91 To the extent O’Brien opines that the Liberty Companies provided poor claims

handling which resulted in financial damages to Republic, all of these opinions are squarely

rebutted by McCoy. The voluminous contents of McCoy’s report alone, viewed in the light most

favorable to the Liberty Companies, directly disputes the methodology and conclusions of

O’Brien.        This factual dispute is sufficient to withstand summary judgment.

           In addition to retaining Doug McCoy to rebut the opinions of O’Brien, the Liberty

Companies also retained Judge Steven Siemers. Within his written report dated April 20, 2006,

Siemers comprehensively responded to, and generally disagreed with O’Brien’s methodology


89
     O’Brien Depo. at 222:4-23.
90
     See, O’Brien supplemental report dated March 11, 2006, Exhibit 19.
91
     See, Exhibit 20.


                                                        -32-
CM61:36901:243711:2:LEXINGTON
Case: 5:03-cv-00494-KSF-JBT Doc #: 365 Filed: 01/12/07 Page: 33 of 48 - Page ID#:
                                    13090


and conclusions.92 To the extent O’Brien opines that the Liberty Companies provided poor

claims handling which resulted in financial damages to Republic, all of these opinions are

squarely rebutted by Siemers. The voluminous contents of Siemers report alone, viewed in the

light most favorable to the Liberty Companies, directly disputes the methodology and

conclusions of O’Brien. This factual dispute is sufficient to withstand summary judgment

                    2.      The Liberty Companies’ own claims handlers fail to establish, as a matter
                            of law, the Liberty Companies breach of any duties.

           Beginning on page 60 of its Motion, Republic urges that the Liberty Companies’ own

claims handling employees, “confirm in all respects the systematic failure to comply with the

most basic claims handling standards.” However, Republic’s support of this assertion by citation

to claims handler depositions is simply misleading. Irrespective of whether Republic categorizes

purported claims handler testimonial admissions as mistakes, breaches, violations, “blew,”

mishandling, failure to achieve, or deficiencies,93 throughout this litigation, no Liberty

Companies’ claims handling employee has ever admitted that their claims handling activities

deviated from any applicable standard, rule or regulation. Certainly, no claims handling

employee has ever testified that they failed “to comply with the most basic claims handling

standards.”

           Notably, many of the claims files are very long and contain literally thousands of entries.

No claims handler can fully assess any claims file without first spending hours going through

and reviewing the file. Danielle Adair testified that in order to “grasp what was going on in the

file,”94 she generally needs to review it for two hours. Similarly, the Plaintiff’s counsel stated


92
     See, Exhibit 21.
93
     Republic’s categorization of claims handler testimony in its Memorandum at 61-72 [DKT #267].
94
  Transcript of the deposition of Danielle Adair (“Adair Depo.”), attached in relevant portions as Exhibit 22 at 41:1-
24.


                                                        -33-
CM61:36901:243711:2:LEXINGTON
Case: 5:03-cv-00494-KSF-JBT Doc #: 365 Filed: 01/12/07 Page: 34 of 48 - Page ID#:
                                    13091


during the same deposition that it took him “six hours just to go through the file to kind of figure

out what the file was like. I’ve been doing this for about 20 years.”95 Obviously, a thorough

analysis of any file take several hours. Because the Liberty Companies claims handlers did not

have a workable96 list of claims to be discussed prior to giving their deposition, to the extent that

claims handlers provided deposition testimony relative to specific file activities, all such

testimony followed a brief review of the computer file notes during the deposition. In effect, the

claims handlers merely recited information contained in the electronic files—information already

in the possession of Republic by and through RISKTRAC. Because of the claims handlers’

inability to thoroughly review each claim file in advance, they were unable to comprehensively

assess, defend or criticize the various file activities.

           With regard to the claims handler testimony cited by Republic, many portions are either

taken out of context, are misleading, or do not qualify as per se breaches of any claims handling

standard. Further, even though Republic’s FRCP 26 experts have collectively spent thousands of

hours reviewing files and have billed more than one million dollars ($1,000,000) reviewing

files,97 they failed to recognize or otherwise mention many of the breaches allegedly admitted by

the claims handlers. In fact, in the Andrew Robertson file originating in Tampa, Florida (page

63 of Republic’s Motion), Ballard finds no disallowed/damage amounts for this file.98

           In the interest of brevity, the Liberty Companies will highlight some examples of

Republic’s overreaching relative to each claims office.

95
     Adair Depo. at 41:11-14.
96
   With regard to each deposed claims handler, Republic provided lists of all Republic claims in which the claims
handler made entries. However, the lists occasionally included upwards of 20 claims files per claims handler. No
claims handler could realistically review in detail 20 electronic and paper claims files in preparation for discovery
depositions. This became especially true after Republic failed to ask any claims file questions of several claims
handlers. Throughout claims handler deposition discovery, Republic spent a majority of its time on issues unrelated
to specific claims files.
97
     See, Republic supplemental FRCP26(a) disclosures, Exhibit 23.
98
     See, Tom Ballard Summary Sheet for Andrew Robertson, Exhibit 24.


                                                        -34-
CM61:36901:243711:2:LEXINGTON
Case: 5:03-cv-00494-KSF-JBT Doc #: 365 Filed: 01/12/07 Page: 35 of 48 - Page ID#:
                                    13092


           Sacramento, California Claims Office

           Rafael Pena

           Derrick Scott did not testify that he failed to conduct a proper initial investigation of the

claim. Instead, he testified that the initial investigation was completed prior to his involvement

in the file.99 In fact, the investigation questions posed to Derrick Scott were expressly limited to

his handling of the file only, not the actions of the prior or subsequent claims handlers.100

           Similarly, Derrick Scott did not testify that he disregarded “red-flags” associated with the

Rafael Pena file. Scott never testified that an un-witnessed injury is necessarily a red-flag or that

an employee retaining counsel with aggressive medical treatment is necessarily a red flag.

Instead, Scott repeatedly testified that whether a specific fact qualifies as a “red-flag” therefore

requiring additional investigation is “case by case.” 101

           Finally, Derrick Scott never admitted violating Best Practices and Republic’s SSI’s “by

failing to obtain either an activity check or surveillance.” In fact, he was never asked and was

not otherwise “unable” to explain, as suggested by Republic.

           Aldalfo Aldalco

           Gerry Abracosa’s testimony on page 200 of his deposition seems to have no relation

whatsoever to the statement made by Republic on page 62 of its Motion. Further, at no point

during his deposition did Mr. Abracosa use the word “unilaterally” or “violation.”

           Tampa, Florida Claims Office

           Andrew Robertson:

           Jennifer Mazar adjusted the reserves by $5,000 to account for ongoing defense costs and

99
  Transcript of the Deposition of Derrick Scott ("Scott Depo.“), attached in relevant portion as Exhibit 25 at 74:12-
75:16.
100
      Scott Depo. at 74:1-5.
101
      Scott Depo. at 37:10-23; 67:1-7.


                                                        -35-
CM61:36901:243711:2:LEXINGTON
Case: 5:03-cv-00494-KSF-JBT Doc #: 365 Filed: 01/12/07 Page: 36 of 48 - Page ID#:
                                    13093


medical bill review charges. She did not testify that these charges are unwarranted, or that the

Liberty Companies’ desire to “pay itself” had any bearing on the reserve change.

           Ismet Delalic

           Aimee Ross did not testify that she failed to insure that a timely compensability

investigation was completed. In fact, the deposition excerpts cited by Republic do not mention

the word “compensability.”

           Dennis Hicks

           Steve Renner did not testify that he “dramatically” raised reserves or that he “violated the

SSI’s.” In fact, Steve Renner testified that with regard to the three subject reserve changes, he

sent notifications to the customer, Republic.

           Tarrytown, New York Claims Office

           Evelyn Miranda

           Notably, Republic is asking for a judgment as a matter of law. In support, Republic urges

that the testimony of Winifred Burton establishes that the Liberty Companies never interviewed

the other driver, and failed to provide sufficient evidence of damage to support subrogation. In

reality, Burton was asked to find in the file whether the Liberty Companies interviewed the other

driver, and before answering the question, Burton was interrupted and therefore did not

answer.102 Further, Burton admitted that it is merely “possible” that the Liberty Companies

didn’t appropriately attach evidence of subrogation damages.103

           L. Flanagan

           Allison Chance did not testify that there was no investigation until 3 ½ years after the


102
   Transcript of the Deposition of Winifred Burton (“Burton Depo.”), attached in relevant portions as Exhibit 26 at
102:10-18.
103
      Burton Depo. at 106:12.


                                                       -36-
CM61:36901:243711:2:LEXINGTON
Case: 5:03-cv-00494-KSF-JBT Doc #: 365 Filed: 01/12/07 Page: 37 of 48 - Page ID#:
                                    13094


accident. Instead, the Liberty Companies did not request a home activity check of the claimant

until then. Soon after the accident, the Liberty Companies interviewed the treating physician, the

Republic supervisor and the injured worker.

           Glendale, California Claims Office

           Raymundo Galvan

           Danielle Adair did not testify that the Liberty Companies “inexplicably mistakenly closed

the file during the period it should have been investigated.” Instead, Adair testified that the file

might have been accidentally closed, it might have been transferred from another office, and she

does not know the facts of what happened to give the file a re-open date.104

           Adrian Aguilar

           Danielle Adair never testified that she “forgot” to send out a “NOPE” letter or that

sending such a letter would have made a difference on the file.

           Bala Cynwyd, Pennsylvania Claims Office

           Robert Hubbard

           Suzanne Dunlevy never testified that the Liberty Companies failed to investigate the

intentional act/horseplay issue. Instead, she testified that if the worker was the victim of

horseplay, the same would make no difference under Pennsylvania law.

           Mark Vought

           Janine Justice never testified that the Liberty Companies “failed to properly monitor

litigation.” In fact, the word “monitor” is not used in Justice’s deposition.

           Christopher Pergolese

           Denise Augustine did not testify that obtaining a recorded statement is required by the


104
      Adair Depo. at 124.:8-9.


                                                  -37-
CM61:36901:243711:2:LEXINGTON
Case: 5:03-cv-00494-KSF-JBT Doc #: 365 Filed: 01/12/07 Page: 38 of 48 - Page ID#:
                                    13095


SSI’s and Best Practices. In fact, when Mr. Pergolese was injured on 11/24/98, implementation

of the Best Practices was 2 ½ years short of their rollout in January, 2001.105

           Schaumburg, Illinois Claims Office.

           The various mishandling cited by Republic does not appear to be supported by the

deposition excerpts cited by Republic. With regard to the cited excerpts, the claims handlers do

not admit any wrongdoing, poor claims handling, or violations of any applicable standards.

           Irving, Texas Claims Office

           Delilah Gill testified repeatedly that indemnity claims in Texas cannot be settled in the

sense that they cannot be permanently closed and never re-opened as the term “settlement” is

traditionally used. Her opinions regarding this issue are summarized in the following dialogue:

                        Q. Could Liberty Mutual have settled this claim in Texas when Ms. Followell
                        reached MMI in November of 2002?

                        A. No, sir. The Texas state statute does not allow settlements in the claim -- the
                        general understanding of what a settlement is in claims management, which
                        would mean some sort of compromise of the entire claim allowing us to close that
                        file down. In Texas the only issues that can be resolved are disputed matters such
                        as the length of disability, the impairment rating, you know, this type of treatment
                        being related to the work injury or that type of treatment being related to the work
                        injury but not -- the claim in its entirety cannot be settled.106

           This understanding of Texas workers compensation law is shared by every other deposed

Texas claims handler presented with the same inquiry. 107 Further, this view is also shared by

Republic’s broker, Suzanne Flynn, who knew that indemnity and medical claims cannot be

settled in Texas.108 In fact, the Texas Statutes evidence the perpetual ability of claimants to keep

105
      See, Exhibit 7.
106
      Transcript of the Deposition of Delilah Gill (“Gill Depo.”), attached in relevant portions as Exhibit 27 at 126:11-
21.
107
   Excerpts from the Depo of Mary Anders, pp. 40-42; Depo of Brett Pearce p. 93; Depo of Mary Ellen Cozart, pp.
24-26; Depo of Beth Dempsey p. 52-53; Depo of Hema Harrison-Johnson, pp. 56-58; Depo of Junie Wolf, pp. 21-
23. These excerpts are attached as collective Exhibit 28.
108
   Transcript of the Deposition of Suzanne Flynn (“Flynn Depo.”), attached in relevant portions as Exhibit 29 at
203:17-21.

                                                           -38-
CM61:36901:243711:2:LEXINGTON
Case: 5:03-cv-00494-KSF-JBT Doc #: 365 Filed: 01/12/07 Page: 39 of 48 - Page ID#:
                                    13096


claims open and continue to receive benefits.109 The only “stubbornness” regarding settlements

in Texas is the refusal of Thomas Ballard to finally admit that Delilah Gill and her co-workers

are right, and that experienced claims handlers in Texas have more knowledge of Texas workers

compensation laws than Ballard. Interestingly, Ballard’s curriculum and five days of deposition

testimony are wholly devoid of any suggestion that Ballard ever had an occasion to handle a

Texas workers compensation claim, or even read a Texas workers compensation statute, prior to

this case.

           In addition to mis-citing the testimony of the Liberty Companies’ claims handlers as

evidence that the Liberty Companies mishandled claims, Republic contends that “[t]he Liberty

Companies do not adequately prepare adjusters to handle claims.”110 Republic asserts that the

Liberty Companies failed “to provide their adjusters with any formal training before they began

handling claims” and cite to the testimony of a number of Liberty claims handlers. This simply

does not reflect the testimony of these Liberty Companies’ employees. For example, Republic

cites to the testimony of Dara Warner, a California Team Manager. Ms. Warner never testified

that she did not receive “formal” training when she began her job. She testified that she received

on the job training, that she shadowed other employees and that she attended various in-office

training sessions every week.111 Republic cites to the testimony of Marianne Truax for the

proposition that the Liberty Companies only provided “non-state specific training” to their

claims handling employees, however, Ms. Truax never uses the words “non-state specific” and

simply testifies that she received training on “how to handle claims files.”112 She goes on to say

109
      See, Texas Workers Compensation Act, §408.005, Exhibit 30.
110
      Republic’s Memorandum at 59.
111
   Transcript of the Deposition of Dara Warner (“Warner Depo”), attached in relevant portions as Exhibit 31 at
21:18-24:4 (emphasis added).
112
   Transcript of the Deposition of Marianne Truax (“Truax Depo.”), attached in relevant portions as Exhibit 32 at
13:7-20.

                                                       -39-
CM61:36901:243711:2:LEXINGTON
Case: 5:03-cv-00494-KSF-JBT Doc #: 365 Filed: 01/12/07 Page: 40 of 48 - Page ID#:
                                    13097


that she is licensed to handle claims by the state of Kentucky.113

            Republic goes on to cite the testimony of Michelle Garvey for the proposition that

adjustors, even when trained, were not instructed in “core claims handling.” But Ms. Garvey

testified that she was trained on a number of claims handling procedures. She testified that, in

training, they “went over topics and did practicing of interviews and going into a file and posting

the information and getting feedback from a trainer,” that they practiced “with a coworker asking

questions as far as how an injury occurred, what treatment they've had, disability status, that type

of thing,” and that she was trained to ask “the facts of the accident, where they've sought

treatment, if there were any witnesses, what their disability status is, prior injuries, prior

accidents, health conditions, what treatment they're receiving at the present time.”114

            Based upon these and various other mischaracterizations of the testimony of the Liberty

Companies’ claims handlers, Republic concludes that “this critical information gap substantially

impacted adjusters’ ability to adequately handle claims . . ..”115 There is no factual or legal

support for Republic’s conclusion and the cited “evidence” certainly does not establish that

claims were mishandled as a matter of law.

                     3.    Republic’s broker, Suzanne Flynn, fails to establish, as a matter of law, the
                           Liberty Companies breach of any duties.

            Even though Republic’s Broker, Suzanne Flynn, is only mentioned within the “Relevant

Facts” section of Republic’s Motion, Republic insists that her deposition testimony “establish[es]

that claims mishandling occurred.”116 However, Suzanne Flynn’s testimony falls short of

establishing the Liberty Companies’ liability as a matter of law. Further, to the extent that Flynn

113
      Id. at 13:24-14:3.
114
    Transcript of the Deposition of Michelle Garvey (“Garvey Depo.”), attached in relevant portions as Exhibit 33_
at 15:16-17:12.
115
      Republic’s Memorandum at 60.
116
      Republic’s Memorandum at 16 [DKT #267].


                                                       -40-
CM61:36901:243711:2:LEXINGTON
Case: 5:03-cv-00494-KSF-JBT Doc #: 365 Filed: 01/12/07 Page: 41 of 48 - Page ID#:
                                    13098


presents opinion testimony, such must be excluded because Republic has not identified her as a

FRCP 26 expert witness.

           Suzanne Flynn was Republic’s insurance broker. She still maintains a close working

relationship with Republic, and further takes the position that her communications with

Republic’s counsel are protected by the attorney/client privilege.117 With regard to supervising

and overseeing Republic’s workers compensation claims from a risk management perspective,

she described her role as “an ex-officio member of his [Gary Gezzer of Republic] risk

management team . . . I was given settlement authority [on behalf of Republic]… So by all extent

I was part of his team and was asked to be provided with the same authority and respect.”118

           Suzanne Flynn generally described the problems she experienced with the Liberty

Companies’ claims handling.119 However, Flynn was never able to relate her general complaints

to any specific claim file. Throughout her deposition, Suzanne Flynn never linked any claims

mishandling to any specific claim file, Liberty Mutual Claim office or Liberty Mutual employee.

She did not link her opinions of mishandling to any of the 292 claims files at issue in this case.

She did not identify a specific agreement ever breached by any of the six (6) Defendants.

Throughout Flynn’s deposition, the Liberty Companies challenged her general complaints by

seeking specific examples or percentages of purported mishandling. Flynn was never able to

provide specifics. By way of example, Flynn complained of significant delinquencies in

responding to inquiries. However, Flynn did not identify any specific claim file and could not

better define her opinion of “significant.”120 Similarly, Flynn occasionally asked for

supplemental information from adjustors, to which she indicated that they “seldom” responded.

117
      Flynn Depo at 7:2-21; 42:18-44:7.
118
      Id. at 91:11-92:11.
119
      Id. at 246:20-250:15.
120
      Id. at 131:20-135:7.


                                                -41-
CM61:36901:243711:2:LEXINGTON
Case: 5:03-cv-00494-KSF-JBT Doc #: 365 Filed: 01/12/07 Page: 42 of 48 - Page ID#:
                                    13099


However, she did not identify a specific claim file and could not better define her opinion of

“seldom.”121 Throughout her deposition, Flynn complained about a myriad of claims activities,

without providing a single file example or otherwise providing a reliable estimate of frequency.

She complained of late payments but “can’t give you a specific” about how often.122 With

regard to several complaints, she could not give a percentage of the files in which these things

occurred.123

            Flynn has not identified any alleged file mishandling sufficient to allow the Liberty

Companies to investigate and adequately respond. The Liberty Companies handled thousands of

claims for Republic in offices around the country. Flynn’s general complaints of mishandling

such as incomplete investigations, questionable compensability decisions, improper payment of

medical bills and inappropriate settlement payments are so non-specific that investigating and

rebutting these allegations is literally impossible. Therefore, in the light most favorable to the

Liberty Companies, Flynn’s deposition testimony does not establish, as a matter of law, that the

Liberty Companies breached any duties owed to Republic.

            D.       Republic Has Not Established Joint and Several Liability Against Each of the
                     Six Defendants.

            Republic seeks summary judgment, jointly and severally, against each of the six

Defendants.124 In support of this position, Republic cites no contractual provisions whereby any

defendant assumed contractual liability for the others. Similarly, Republic cites no case law for

the proposition that the Defendants’ liability should be joint and several. Instead, the various



121
      Id. at 141:23-142:18.
122
      Id. at 246:3-24.
123
      Id. at 250:7-15.
124
  Republic’s proposed order granting Partial Summary Judgment [DKT #267]; Republic’s Memorandum at 3
[DKT #267].


                                                    -42-
CM61:36901:243711:2:LEXINGTON
Case: 5:03-cv-00494-KSF-JBT Doc #: 365 Filed: 01/12/07 Page: 43 of 48 - Page ID#:
                                    13100


contractual agreements stand alone and only obligate specifically identified parties.125 As

evidenced by the Liberty Companies’ answers to written discovery, each of the Defendants is a

separate corporation, some of which are incorporated in different states.126

           The Liberty Companies submit that no evidence compiled throughout discovery

establishes that the six Defendants agreed to be responsible for the obligations and debts of the

others, or that the six Defendants acted as agents of each other with regard to any duties owed to

Republic. Instead, the various contract documents stand alone and only obligate specific parties.

By way of example, the policy for the second policy year was written by Defendant Liberty

Mutual Fire Insurance Company to its insured Republic Services, Inc.127 This obligation to

provide insurance coverage existed by and between two parties. Nothing within this policy

suggests that five additional corporations assumed responsibilities to provide coverage to

Republic during the second policy year. In fact, any such finding would substantially modify the

language of the policy.

           Alternatively, Republic’s claims for joint and several liability against all Defendants

violates the law of Massachusetts and Florida. As discussed within the Liberty Companies’

Motion for Partial Summary Judgment relevant to breach of fiduciary duty and the economic loss

doctrine [DKT #254], the substantive laws of Massachusetts, or alternatively Florida, apply to

Republic’s claims. In its Motion, Republic seeks partial summary judgment relative to breach of

contract, as well as several tort claims including negligence, duty of good faith, fiduciary duty,

and unjust enrichment.128

125
   Admittedly, throughout motion practice, the Defendants have generally referred to themselves as “the Liberty
Companies.” However, this consolidation in the interest of brevity does not negate the Plaintiff’s obligation to
prove its prima facie case against each and every defendant.
126
      See, the Liberty Companies response to Interrogatory No. 4, Exhibit 34
127
      See, coverage from second year policy, Exhibit 35.
128
      Republic’s Memorandum at 38-42 [DKT #267].


                                                           -43-
CM61:36901:243711:2:LEXINGTON
Case: 5:03-cv-00494-KSF-JBT Doc #: 365 Filed: 01/12/07 Page: 44 of 48 - Page ID#:
                                    13101


            Florida requires the apportionment of fault in all negligence claims, including

professional negligence claims whether couched in contract or tort. Fla. Stat. §768.81(4).129

This statute was enacted to replace joint and several liability. Association for Retarded Citizens-

Volusia, Inc. v. Fletcher, 741 So. 2d 520 (Fla. Dist. Ct. App. 5th Dist. 1999). Similarly,

Massachusetts has adopted the Uniform Comparative Fault Act (UCFA) which provides that

each party shall only bear their respective percentages of fault. The Shantigar Foundation v.

Bear Mountain Builders, 804 N.E. 2d 324 (Mass. 2004). The clear language of these statutes

prohibits a joint and several judgment against all six Defendants. Instead, to the extent that each

of the six Defendants may have contributed to Republic’s alleged damages, then the trier of fact

should apportion fault amongst the six Defendants.

VI.         REPUBLIC HAS NOT PROVED ENTITLEMENT TO DAMAGES, AS A
            MATTER OF LAW, AS CALCULATED BY FRCP 26 EXPERT TIMOTHY
            SNODDY.

            Republic seeks judgment as a matter of law that the Liberty Companies’ breaches have

damaged Republic in an amount calculated Tim Snoddy.130 Not only do the Liberty Companies

vigorously dispute the liability opinions of Republic’s experts as highlighted above, but the

Liberty Companies vigorously dispute the damage opinions of Snoddy. In response to Snoddy’s

report, the Liberty Companies retained Marc T. Ray, CPA, as an expert witness. In his report

dated May 1, 2006, Ray comprehensively responded to, and generally disagreed with Snoddy’s

methodology and ultimate conclusions.131 Ray opined that Snoddy’s collaborative damage

assessment is grossly overstated, and lacks any measure of reasonableness or fairness.132

Ultimately, Ray opined that “the damages alleged by Republic, through its experts, are grossly

129
      See, Exhibit 36.
130
      Republic’s Memorandum at 74 [DKT #267].
131
      Ray report, Exhibit 37.
132
      Id. at 1.


                                                   -44-
CM61:36901:243711:2:LEXINGTON
Case: 5:03-cv-00494-KSF-JBT Doc #: 365 Filed: 01/12/07 Page: 45 of 48 - Page ID#:
                                    13102


overstated.”133 The contents of Ray’s report alone, viewed in the light most favorable to the

Liberty Companies, directly disputes the methodology and conclusions of Snoddy. This factual

dispute is sufficient to withstand summary judgment.

            Even if Marc Ray did not directly dispute the conclusions and analysis of Snoddy,

Republic is still not entitled to damages as a matter of law because the reliability of Snoddy’s

opinions are expressly contingent upon the reliability of Ballard’s opinions. Because the Liberty

Companies dispute the validity of Ballard’s opinions, the same dispute applies to Snoddy’s

opinions. As discussed above, Republic’s proof of alleged breaches by the Liberty Companies is

limited to three sources including: (1) testimony from Republic’s broker Suzanne Flynn,134 (2)

depositions of the Liberty Companies’ claims handlers,135 and (3) opinions from Republic’s

FRCP 26 experts Tom Ballard and David O’Brien.136 However, Snoddy’s opinions are expressly

limited to damages flowing from alleged breaches identified by Tom Ballard, not the remaining

sources.137

                    Republic seeks three categories of damages including:

                    1. Excess bonus payments;

                    2. Excess claims costs; and

                    3. Costs for Impairment of Capital.138

            The excess bonus payments are separate and apart from the relief sought within

Republic’s Motion for Partial Summary Judgment and have been recently adjudicated by this



133
      Id. at 9.
134
      Republic’s Memorandum at 12-16[DKT #267].
135
      Id. at 19, 61-72 [DKT #267].
136
      Id. at 58 [DKT #267].
137
      See, Snoddy report dated August 15, 2005, Exhibit 38.
138
      See, Republic’s supplemental FRCP 26 disclosures exchanged 6/1/06, Exhibit 23.


                                                         -45-
CM61:36901:243711:2:LEXINGTON
Case: 5:03-cv-00494-KSF-JBT Doc #: 365 Filed: 01/12/07 Page: 46 of 48 - Page ID#:
                                    13103


Court.139 Damages associated with excess claims costs and impairment of capital hinge

exclusively on the alleged breaches identified by Ballard. Ballard reviewed the claims files and

identified “a point in time or . . . an occurrence (specific to each claim) at which the file, if

properly handled, administered and managed, would not have resulted in the Liberty Companies

incurring any further/inappropriate/unnecessary costs on Republic’s behalf.”140 Effectively, if

Ballard does not disallow a portion of an individual claim, then Republic has not and cannot link

any alleged file mishandling to a resulting financial loss or damage.

           After Ballard determined a cut-off point in each file, Snoddy addressed the financial

impact of the cut-off point and calculated a “corresponding cost to Republic.”141 Snoddy’s

damage opinions regarding excess claims costs represent a collaboration of individual claim file

damages derived from Ballard’s cut-off points. Snoddy’s damages opinions regarding excess

claims costs are solely derived from the cut-off points opined by Ballard.142 Snoddy did not

attempt to link excess claims costs to the testimony and/or opinions of David O’Brien, Suzanne

Flynn or the Liberty Companies’ claims handlers. Further, within its most recent FRCP 26

disclosure exchanged 6/1/06, Republic does not seek damages other than those calculated by

Snoddy.

           Similarly, Republic’s claim for impairment of capital damages143 hinges exclusively on

the alleged breaches identified by Ballard. In order to calculate alleged impairment of capital,




139
      Republic’s Memorandum at 74 [DKT #267]; Opinion and Order [DKT#277].
140
      See, Ballard report dated August 15, 2005, Exhibit 10.
141
      See, Snoddy report dated August 15, 2005, at 4.
142
      See generally Snoddy Report.
143
    The methodology employed by Snoddy in calculating alleged impairment of capital damages, and the shortfalls
of the same, are further discussed in the Liberty Companies’ Motion to Exclude testimony from Tim Snoddy and Ed
Davenport. [DKT #249]


                                                         -46-
CM61:36901:243711:2:LEXINGTON
Case: 5:03-cv-00494-KSF-JBT Doc #: 365 Filed: 01/12/07 Page: 47 of 48 - Page ID#:
                                    13104


Snoddy relied on excess claims costs data provided exclusively by Ballard.144 Snoddy did not

utilize claims costs data from the testimony and/or opinions of David O’Brien, Suzanne Flynn or

the Liberty Companies’ claims handlers.

           Republic has presented no claim for, and has no proof to support, damages other than

those calculated by Snoddy. Every element of damage calculated by Snoddy (other than Excess

Bonus Payments which are not a part of this Motion) relies on claims mishandling opinions

provided exclusively by Ballard. As discussed above, the Liberty Companies and its expert

Doug McCoy strongly dispute the conclusions of Ballard. To the extent that the opinions of

Ballard present a material issue of fact in the light most favorable to the Liberty Companies, then

the same issues of material fact flow to Snoddy because his damage calculations are based on the

opinions of Ballard.

VII.       CONCLUSION

           For the foregoing reasons and authorities, the Liberty Companies respectfully request that

this Court enter an order denying Republic’s Motion for Partial Summary Judgment.

                                                 Respectfully submitted,


                                                 /s/ J. Clarke Keller
                                                 J. Clarke Keller
                                                 Gregory P. Parsons
                                                 Marshall R. Hixson
                                                 STITES & HARBISON, PLLC
                                                 250 West Main Street
                                                 Suite 2300
                                                 Lexington, KY 40507-1758
                                                 Telephone: (859) 226-2300
                                                 Facsimile: (859) 253-9144
                                                 E-Mail: ckeller@stites.com
                                                 COUNSEL FOR DEFENDANTS,
                                                 THE LIBERTY COMPANIES

144
      See, Snoddy Report at 12-13.


                                                  -47-
CM61:36901:243711:2:LEXINGTON
Case: 5:03-cv-00494-KSF-JBT Doc #: 365 Filed: 01/12/07 Page: 48 of 48 - Page ID#:
                                    13105


                                  CERTIFICATE OF SERVICE

This is to certify that on October 3, 2006
I electronically filed the foregoing with the clerk
of the Court by using the CM/ECF system
which will send a notice of electronic filing to the following:

Brent L. Caldwell, Esq.
Robert E. Maclin, III, Esq.
McBrayer, McGinnis, Leslie & Kirkland, PLLC
201 East Main Street, Suite 1000
Lexington, Kentucky 40507

Nick Roxborough, Esq.
Michael Adriani, Esq.
Craig S. Pynes, Esq.
Roxborough, Pomerance and Nye, LLP
5820 Canoga Avenue, Suite 250
Woodland Hills, CA 91367

 /s/ J. Clarke Keller
Attorney for Defendants




                                                -48-
CM61:36901:243711:2:LEXINGTON
